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AO 472 (Rev. 05/05) Order of Detention Pending Trial


                                         UNITED STATES DISTRICT COURT
                                                       Eastern District of Michigan
           UNITED STATES OF AMERICA
                      V.                                                          ORDER OF DETENTION PENDING TRIAL
             VICTOR GRANT SCHWARTZ                                            Case Number: 05-80415 AND 05-80416
                             Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                              Part I—Findings of Fact
G    (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense              G   state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                      .*
           G    a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
                § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G    (2)   The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G    (3)   A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
           for the offense described in finding (1).
G    (4)   Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
           safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
G    (1)   There is probable cause to believe that the defendant has committed an offense
           G for which a maximum term of imprisonment of ten years or more is prescribed in                                                             .
           G under 18 U.S.C. § 924(c).
G    (2)   The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
           the appearance of the defendant as required and the safety of the community.
                                                                 Alternative Findings (B)
✔
G    (1)   There is a serious risk that the defendant will not appear.
✔
G    (2)   There is a serious risk that the defendant will endanger the safety of another person or the community.




                                             Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by       ✔clear and convincing evidence G
                                                                                                     G                                         a prepon-
derance of the evidence that
On March 27, 2006 Defendant was brought before this Court for a bond review hearing. At that time it was reported that Defendant
had violated conditions of his April 29, 2005 bond by testing positive for cocaine on May 3, 2005,October 24, 2005, February 17,
2006, and February 22, 2006. At the time of the hearing, Defendant initially answered the allegations in the Petition by denying drug
usage on all of the drug testings. Defendant then altered his response and denied drug usage on some of the positive testing
results. As drug treatment had not been afforded to this Defendant during the pendency of his bond, the Court continued bond with
added bond conditions.                       (CONTINUE ON PAGE 2)
                                                   Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.
                 May 9, 2006                           s/ Mona K. Majzoub
                      Date                                                                     Signature of Judge
                                                       MONA K. MAJZOUB UNITED STATES MAGISTRATE JUDGE
                                                                                           Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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Specifically Defendant was ordered to participate in inpatient drug treatment with outpatient
aftercare to follow. An electric monitor and curfew were also ordered.

Defendant was brought before this Court on May 9, 2006 on a second Petition for Action on
Conditions of Pretrial Release. It was reported that Defendant had been afforded the benefit of
inpatient drug treatment and outpatient aftercare, but that he continues to use drugs. In fact, he
tested positive for cocaine on the morning of his second bond review hearing.

This Court has offered Defendant all of the resources available to it to enable him to comply
with the conditions of his bond. Nonetheless Defendant has failed to successfully comply with
the conditions of bond. Defense counsel advised the Court that Defendant has also been violated
on his State bond in Macomb County, and was due to begin an eight day sentence in the
Macomb County Jail on May 10, 2006, for his drug usage, failure to advise of address change,
and his failure to report to his supervising officer.

Based upon the above, there is no condition or combination of conditions that this Court could
impose to assure Defendant’s appearance or the safety of the community, and therefore
Detention is now ORDERED.
